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January 30^^ 2025                                                               received
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Email: cwpo@cand.uscourts.gov

Honorable Judge Claudia Wilken

c/o Ronald V Dellums Federal Building

& United States Courthouse

1301 Clay Street

Oakland, CA 94612




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(Representative in NiL matters for the Objectors)




IN RE: COLLEGE ATHLETE NIL LITIGATION


Case No. 4:20-cv-03919-CW




OBJECTION TO DAMAGES CLASS SETTLEMENT TERMS ON BEHALF OF PAST AND
CURRENT NCAA STUDENT ATHLETES AT ARIZONA STATE UNIVERSITY.
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           I.       INTRODUCTION




Activate Sports Management Is an NIL agency founded in Tempe, AZ in 2023. We represent
43 NCAA Division I athletes across 11 varsity sports at five universities. Our client base
includes an almost equal number of men's and women's student-athletes, including past
and current athletes participating in Football, Men's Basketball, Women's Basketball,
Volleyball, Beach Volleyball, Baseball, Softball, Lacrosse, Men's Ice Hockey, Swimming,
and Water Polo.


Our aim is to be a "full service" NIL agency, assisting athletes with both sourcing and
negotiating business deals, and securing media and marketing opportunities. Since
December of 2023, we have secured more than $377,000(combined cash and FMV in-kind
donations)from local business NIL deals. We have also provided our athletes with over 70
media appearances, to include television news, podcasts, radio, print media, and social
media.


In addition to our primary objective, we provide educational services and keep our athletes
up to date on the rapidly changing landscape of college sports. This obviously includes
your preliminary approval of the House v NCAA settlement(case 4:20-cv-03919-CW) on
October         2024.


Since your ruling, we have been closely monitoring the situation as schools, collectives,
and legal experts react to the potential of both the DCS and IRCS parts of the proposed
settlement. A large part of this has been introducing them to the website
www.coUegeathletecompensation.com where they have been directed by their institutions
to go for settlement related questions. As we will lay out in I I I - Argument A-E, this has been
a disaster for all of us to navigate and has proven more harmful than helpful. Athletes are
often lacking necessary information such as PIN numbers, and have experienced
difficulties with the website.


In addition, as we will lay out in I ll-Arguments F-H, when anticipated damages in the DCS
were released via the website on December 17'^ the compensation numbers the Cbjectors
found were non-sensical and lacked any explanation. They often fluctuate and do not seem
to be tied into any element of value tied to an athletes Name,Image, or Likeness.

With these issues in mind,the athletes listed below object to the DCS portion of the
Settlement in House v NCAA case 4:20-cv-03919-CW and request to appear before you at
the hearing on April 7^^ 2025.
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           II.    OBJECTORS




For this letter only, this list encompasses the entirety of the Objectors in this case.



Anthony Dowd, Arizona State University, Hockey

Artem Shlaine, Arizona State University, Hockey

Benji Eckerle, Arizona State University, Hockey

Bennett Schimek, Arizona State University, Hockey

Charlie Schoen, Arizona State University, Hockey

Chase Hamm,Arizona State University, Hockey

Cole Gordon, Arizona State University, Hockey

Cole Helm, Arizona State University, Hockey

Cruz Lucius, Arizona State University, Hockey

David Hymovitch, Arizona State University, Hockey

Dylan Jackson, Arizona State University, Hockey

Ethan Szmaga], Arizona State University, Hockey

Gibson Homer, Arizona State University, Hockey

Jalyn Brown, Arizona State University, Women's Basketball

Kyle Smolen, Arizona State University, Hockey

Lukas Sillinger, Arizona State University, Hockey

Luke Pavicich, Arizona State University, Hockey

Marissa Schuld, Arizona State University, Softball

Noah Beck, Arizona State University, Hockey

Ryan Alexander, Arizona State University, Hockey

Ryan Kirwan, Arizona State University, Hockey
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Tony Achille, Arizona State University, Hockey

Tucker Ness, Arizona State University, Hockey

Ty Jackson, Arizona State University, Hockey

Ty Murchison, Arizona State University, Hockey
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   III.   ARGUMENTS



          A. I began contacting the student-athletes I represent by text message
             on October 27*'', 2024 to notify them of their eligibility as part of the
             DCS. I contacted 52 student-athletes (past and current clients) to
             provide a brief explanation of your preliminary approval of the
             settlement, and to introduce them to
             www.coUegeathletecompensation.com


              Of the 52 athletes contacted, 41 were unaware of the existence of
              the lawsuit, or unaware they were eligible for damages from the DCS
              portion of your preliminary approval. Three of the Objectors listed in
              this letter replied,"what is this?". Once I explained further, I was
              contacted by 21 additional student-athletes at the suggestion of my
              clients /theirteammates. This included prominent student-athletes
              in "revenue sports" who were completely unaware a potential
              settlement existed.



              The primary reason this objection is being filed near the deadline, is
              because the Objectors felt they still didn't have any formal
              education or institutional guidance to make a decision, until being
              forced to do so by the deadline set forth in the preliminary approval.


              Student-athletes I represent at many institutions, including the
              Objectors, were not provided with any educational material or
              coaching by their school or the NCAA. While
              www.coUegeathletecompensation.com does have an FAQ section,
              it is woefully lacking in actual responses - often redirecting the
              Objectors to another page or a link out. Under the FAQ titled "How
              do I get more information?" the website redirects the Objectors to a
              link out page that contains a link to the original website and a phone
              number for the plaintiff's attorneys.


              When the Objectors aren't even aware the DCS exists or applies to
              them 3 Va months before they are expected to decide to opt-in or
              not, there is no way they can be educated enough in time to make
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              that decision. Therefore, they object to the settlement on these
              grounds.


          B. As expressed above in the example of the
             www.collegeathletecompensation.com FAQ section, under the
             question titled "How do I get more information"the only further
             information provided to the student-athlete is a link to the original
             website they just left, plus contact information for two attorneys they
             have never met, and information to contact the court. These are not
             easy to access means of providing education and support. 18-25
             year old's in 2025 are not accustomed to having this level of difficulty
             in accessing information. They have been raised with chat-bots, live
             chat options, and the ability to communicate with whomever they
             want at the touch of a button. To belief "contact a lawyer you've
             never met" is either a viable option for them, or a scalable solution
             for the amount of student-athletes eligible for the DCS, is not
             rational.



             To further demonstrate that the support system is not viable, you
             don't need to look any further than the Objectors who tried the
             suggested remedies. Over the course of 3 months, multiple calls
             were placed by the Objectors to the attorneys listed on the FAQ page
             of www.coUegeathletecompensation.com All of those calls went
             unanswered and unreturned. Additional calls were made by
             Objectors and other student-athletes to two different attorneys for
             the plaintiff that were provided by Arizona State University, which
             also went unanswered and unreturned.


             Absent Marissa Schuld, the Objectors in this letter are all in the
             middle of an academic year and an athletic season. To not provide
             upfront educational resources AND to not have a viable solution to
             ask questions or fix issues, puts the student-athlete in an impossible
             situation to decide on their involvement with the settlement.


             In addition to not having an easy to access and native to use platform
             for the student-athletes to receive education, there is no reasonable
             recourse to fix issues needed to access the limited information and
             education that is provided. Over the course of the previous three
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             months, most of the Objectors have had technical Issues or Issues
             related to education that result In a technology failure. Byway of
             example, many of the Objectors who have transferred to Arizona
             State University after playing Division 1 hockey elsewhere, were
             unable to locate or never received notifications from one or more of
             their previous Institutions. In addition, many were unable to locate
             their NCAA enrollment number or PIN to access the limited
             Information the website provides.


             Not only does this highlight the lack of education listed In III -
             Arguments-A, but It shows the lack of a viable support solution for
             student-athletes when they run Into basic technical Issues.


             When the Objectors are having basic Issues logging Into a system,
             finding support, having someone accessible to help them
             troubleshoot, and experiencing basic technical failures like the
             repeated crash of the website or repeated failed log-In attempts,they
             can not possibly ask the questions they need answered In orderto
             opt-In or believe that the settlement should be approved. Therefore,
             they object to the settlement on these grounds.


          C. Many of the Objectors have attended and competed at multiple
             Division 1 schools during the period outlined In the DCS. Since the
             value of their Name, Image, and Likeness (Including BNIL) aren't tied
             to a specific school, the entirety of the time they competed as a
             Division 1 Hockey player and student-athlete which falls within the
             DCS window, should be considered when calculating their damages.


             However, that does not seem to be the case. In many Instances the
             Objectors who fit this profile, did not receive any Information from
             their previous Institutions as required. In addition, many attempts to
             reach out to those Institutions went unreturned. In the case one
             Objector was able to speak to the compliance office of their former
             Institution, they were told to contact the same attorneys listed on
             www.collegeathletecompensation,com Subsequent phone calls to
             those attorneys by the Objector went unanswered and unreturned.
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             When the Objectors receive inadequate or no information from
             multiple schools and no viable support solution to seek answers to
             these questions prior to the deadline to opt-in to the settlement,
             there is simply no way they can know if they are receiving the full
             value of their name, image, and likeness in the DCS. Therefore, they
             object to the settlement on these grounds.



          D. Whether it's because of the technical issues and lack of adequate
             support channels listed above in III - Arguments-A,B many of the
             Objectors who fit into the transfer category, either only received the
             required notification and PIN number from their current institution
             (Arizona State University) and not from any previous institution as
             required, but their listed damages pursuant to the DCS are often
             incongruent with their peers who have not transferred.


             In one case, one of the Objectors transferred from a more prominent
             athletic program with higher attendance, more televised games
             (BNIL), and a larger fan following, which is proven to lead to more
             interest in NIL deals with local businesses. However, this Objector's
             DCS number is less than half of their teammate who did not
             previously transfer and has been at Arizona State University for their
             entire collegiate career. How can this be the case if the calculation
             for the settlement amount received is supposed to factor in the exact
             NIL and BNIL equations outlined above.


             Once again, absent proactive education and a viable support
             channel, and with lack of information for transfer student-athletes,
             the Objectors are unable to understand why this would be the case
             or if theirfull name, image, and likeness value is being considered. As
             we will address in III - Arguments- F,G this is a common theme with
             DCS dollarfigures lacking any explanation or common sense.
             Therefore, they object to the settlement on these grounds.
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          E. In addition to all of the issues with lack of education and a non-viable
             support system for the student-athletes, the Objectors have found
             fundamental technical issues with the website
             www.collegeathletecompensation.com


             Several Objectors have reported the inability to log-in or prompt of an
             "incorrect username and password" when they are using the same
             username and password they have previously used to log-in. in
             addition, several Objectors reported the website "crashing" on them
             mid-use orfreezing during use. These fundamental issues
             experienced by multiple Objectors further drives them away from
             being able to access the limited information and support that is
             provided.


             Multiple Objectors have also noticed their expected compensation
             number change or fluctuate, without them inputting any new data.
             With multiple technology failures and a lack of support, the
             Objectors are unable to determine if this is a bug or technical issue,
             orwhat factors are causingthe amount to fluctuate and often drop
             seemingly randomly.


             Without the ability to consistently and reliably use the website
             provided for the Objectors, or a path to understand why their
             compensation number is changing, they are unable to make
             decisions as it pertains to whether to opt-in or opt-out of the
             settlement. Therefore, they object to the settlement on these
             grounds.


          F. As mentioned in iii - Arguments - E, multiple Objectors have noticed
             their compensation number either change or decrease randomly at
             times while checking their amount due in damages on
             www.collegeathletecompensatlon.com


             in one example, an Objector originally was shown an anticipated
             DCS number of $1500. One month later upon checking again, the
             number was $500. No explanation was provided, no new information
             had been uploaded by the Objector, and phone calls placed to the
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             plaintiff attorneys seeking clarification went unanswered and
             unreturned.



             In another example, an Objector was originally shown an amount of
             $12,000 which then increased significantly when they were able to
             get in contact with their previous school and that information was
             added. Absent that institution communicating with the Objector
             (which is often not the case)she would not have been receiving her
             full value.



             Lastly, another Objector was originally shown an amount of $1200,
             which then went to $1500, and then to $1100. Again, no explanation
             was provided, no new information had been uploaded by the
             Objector, and phone calls placed to the plaintiff attorneys (the
             recommend remedy for questions or problems) went unanswered
             and unreturned.



             With DCS compensation being the core decision making component
             for this group of Objectors, and their inability to confidently
             understand what that number will be and if it will stay that way after
             they decide to opt-in or opt out, they are not armed with all of the
             information they need to make that decision. Therefore, they object
             to the settlement on those grounds.


          G. Although not all of my clients are Objectors, they have all shared
             their data with me. Because of the diversity of student-athletes that
             make up my client base(men, women, revenue sports, non-revenue
             sports, etc)this gives me a very good window into what estimated
             DCS compensation looks like for different profiles. For example, a
             women's basketball player with 4 years in a prominent role at the
             Division 1 / Power 4 level, should expect somewhere in the range of
             $55,000. A men's baseball athlete with 1 year of experience at the
             Division 1 / Power 4 level, with limited exposure or marketing, should
             expect a numbercloserto $2500. In section III -Arguments- H we
             will explore how the numbers the Objectors have been shown
             compare to the numbers of profiles with significantly less name,
             image, and likeness value - In this section, I want to explain how the
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             numbers the Objectors are seeing vary within their own specific
             profile.


             One Objector has played 3 years of Division 1 hockey, in two
             prominent conferences, and has similar broadcast time (BNIL),
             similar playing times, similar following, and similar current NILdeals
             as several other Objectors. One of those Objectors is being shown an
             anticipated DCS compensation number of $1500, another$1200,
             and another $750. They don't know why that is, as their
             representative I can't explain it to them, and they have no way to
             better understand why other than to contact the court or the
             plaintiff's attorney. Phone calls made to the attorneys to "find out
             more" as suggested bywww.collegeathletecompensation.com went
             unanswered and unreturned.



             The Objectors are unable to determine why their compensation
             estimates are different from each other, when they objectively have
             the same "NIL profile". This makes it impossible for them to know
             how this is beingdetermined, if it's accurate, and if they are being
             compensated fairly should they opt-in. Therefore, they object to the
             settlement on these grounds.


          H. The Objectors are no different than any other student-athlete, in that
             they live with, workout with, hangout with, eat with, study with...each
             other. In this world of name, image, and likeness, and particularly
             with the lack of education and support as it relates to the settlement
             decision they each need to make,this naturally means they talk to
             each other about what they see and what they hear.


             In addition to this, as mentioned above with variety of people t
             represent including the Objectors listed here, we feel as though we
             have a very good understanding of the DCS compensation numbers
             student-athletes of all types are being shown. Simply put, they don't
             make sense.



             We have exhaustively touched on the pain points with education,
             support, and communication for the Objectors in this letter-
             however we only made brief mention of the fact that when shown the
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             DCS compensation number, the athlete Is not shown a breakdown of
             how the panel or system arrived at that number. If the numbers were
             all the same,for example 3 years at ASU Hockey means you are
             worth $1500, then It may be easier to understand. However, as I
             outlined In III - Arguments-G,that Is not the case.


             Having said that, where It becomes even more confusing for the
             Objectors, Is when they learn what they are being told the DCS
             compensation will be, versus those who common sense would tell
             you have less NIL & BNIL value.


             For example, many of the Objectors have a number ranging from
             $500-$1500 as Division 1 hockey players. Arizona State University
             hockey plays a very high level of hockey, with an average attendance
             of around 4,500 per game the last several years, or about 115,000 per
             season (third behind Football and Men's Basketball). There are many
             season ticket holders, several luxury suites, and NIL merchandise
             and jerseys are available for sale. In addition, all of their games are
             broadcast on the radio, and most games are available on the local
             Fox affiliate In Phoenix.



             Water Polo student-athletes have a DCS compensation number
             ranging from $200-5,000. Water Polo Is not a ticketed event at
             Arizona State University, therefore has a less engaged fan base, and
             most competitions are not broadcast on radio or television.


             It Is Important to point out here that the argument Is NOT that Water
             Polo student-athletes are being overvalued or do not deserve their
             rightful compensation - the analogy cited Is to point out that there
             seems to be something off or missing In the way the DCS
             compensation Is being calculated, versus the NIL damages the
             hockey players sustained during the term.


             Absentan understanding ofwhytheyare being devalued In
             comparison to other student-athletes who a common person would
             deem to have less NIL & BNIL value, and with no viable support
             system In place to explain the reasoning to them,there Is no way the
             Objectors can reasonably determine If they are being compensated
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                       fairly should they opt-in. Therefore, they object to the settlement on
                       these grounds.


                       Since these will be public documents,the Objectors have chosen not
                       to go individual by individual and disclose their estimated DCS
                       compensation number. Having said that, upon reviewing the
                       numbers and providing some examples in this letter, I can attest that
                       they are far below what the Objectors could have made in missed NIL
                       opportunities. Therefore, they object to the settlement on those
                       grounds.



           IV.        CONCLUSION




My hope is that the stories and information shared in this letter, are insightful to you as you
make your decision. I believe we've laid out a series of facts and issues that are likely
affecting tens of thousands of athletes not represented in this objection,just as they are
the Objectors.

The Objectors have not been properly educated on the settlement. Despite all of my
personal efforts to provide them with guidance, the system hasn't been set up in a way that
delivers the facts to them in a way they can understand.

There isn't a viable support system in place that can provide reliable, real time "customer
service" to the Objectors. Suggesting they go back to the same website they were just on,
combined with providing two cell phone numbers for attorneys they've never met, who they
can't successfully reach - surely we can't expect them to feel supported by that.

Objectors who have transferred schools, aren't receiving the required information from
their previous institution. They only get it from one place and not the others, they don't
know if they are missing potential compensation that should be reported. We rightfully
expect these institutions to provide all that a student-athlete needs to be successful, why
would we not expect the same here.

The website www.coUegeathletecompensation.com lacks basic functionality and latency.
It often crashes, stalls out, or prompts bad log in responses. It's bad enough that the
content inside the site doesn't provide answers, to not even be able to use the basic
functionality is troubling.
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Compensation numbers on the website often fluctuate. At any given time, an Objector
could log in (hopefully) and find their number has been changed with no explanation, and
no support system in place to seek one.

Those same numbers differ between Objectors of the same "profile". Again, with no way for
them to understand why that is, it's challenging for them to know if they are being fairly
compensated underthe terms of the settlement. Likewise, they're DCS compensation
estimates seem to be inconsistent with how their NIL value is calculated. While equally as
deserving, when breaking up the "pie" by class, a common person would not find a Water
Polo student-athlete to have higher NIL value than a hockey player.

The primary goal of the Objectors here is to have shared enough of their stories to cause
you to take them under real consideration, and NOT approve the settlement on April 7'T

In reviewing all of the factors mentioned in this objection letter, and given that they more
than likely apply to tens of thousands of other student-athletes in the Damages Class of
the case, we don't believe any other finding can be reached by April.

These Objectors simply want to be armed with the information they need, the time they
need to digest it, and someone on the inside to help them through the issues we have
outlined have above.


Asking them to make what could be life changingfinancial and legal decisions absent the
same basic things we would wantfor our kids, just doesn't seem fair. We are already asking
them to be the best students, world class athletes, stand up members in their
communities, role models for kids, and now businessmen and women if they want to be -
all they're asking of us in this case is for some time and a little bit of help. We are asking you
to give that to them by rejecting the settlement and forcing the parties to fix these issues.

If all of the eligible members of the Sun Devils Hockey team can be brave enough to stand
up together and say"these things need to be fixed before anything gets approved", then I
think that warrants a real discussion.


We wantto sincerely thankyou foryourtime, and fortakingthese 25 objections under
sincere consideration. We hope you'll allow us the courtesy of appearing in front of you on
April 7"^, 2025 to continue to make our voices heard on this critically important matter.



Sincerely,

Peter Boyle

Activate Sports Management
